Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 1 of 129 PageID: 18860




                                  EXHIBIT 5
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 2 of 129 PageID: 18861




    UNITED STATES DISTRICT COURT
    DISTRICT OF NEW JERSEY

                                               Case No. 3:15-CV-07658-MAS-LHG
    IN RE VALEANT PHARMACEUTICALS
    INTERNATIONAL, INC. SECURITIES
    LITIGATION                                 JUDGE MICHAEL A SHIPP
                                               JUDGE LOIS H. GOODMAN
    This Document Applies To:

    No. 3:15-CV-07658-MAS-LHG                  JUDGE DENNIS CAVANAUGH, RET.
                                               SPECIAL MASTER




        DECLARATION OF KENNETH Y. TURNBULL IN CONNECTION WITH
        DEFENDANT PRICEWATERHOUSECOOPERS LLP’S OPPOSITION TO
     NAMED PLAINTIFF TUCSON’S MOTION FOR LEAVE TO AMEND COMPLAINT
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 3 of 129 PageID: 18862




           KENNETH Y. TURNBULL hereby declares pursuant to 28 U.S.C. § 1746:

           1.      I am a partner in the law firm of King & Spalding LLP and an attorney of record

    for Defendant PricewaterhouseCoopers LLP (“PwC”) in the above-captioned action. I am a

    member of the bars of the State of Maryland and the District of Columbia and have been

    admitted pro hac vice in this proceeding. I respectfully submit this Declaration in connection

    with PwC’s Opposition to the Motion for Leave to Amend Complaint by named plaintiff, the

    City of Tucson together with and on behalf of the Tucson Supplemental Retirement System

    (“Tucson”) (December 17, 2019).

    PwC’s Production of its Audit Workpapers

           2.      On July 25, 2017, PwC produced its audit workpapers associated with PwC’s

    annual audit and quarterly reviews of the financial statements of Valeant Pharmaceuticals

    International, Inc. (“Valeant”) for the fiscal year ending December 31, 2014 in response to

    Plaintiffs’ First Request for Production of Documents to PwC, served May 5, 2017. See PwC’s

    Production Letter, attached as Exhibit 1.

           3.      On August 18, 2017, PwC produced its audit workpapers associated with PwC’s

    annual audit and quarterly reviews of Valeant’s financial statements for the fiscal year ending

    December 31, 2015 in response to Plaintiffs’ First Request for Production of Documents to PwC,

    served May 5, 2017. See PwC’s Production Letter, attached as Exhibit 2.

    Information Relevant to the September 21, 2018 Amendment Deadline

           4.      Copies of the parties’ proposed Joint Discovery Plans, dated July 3, 2018 and

    September 7, 2018, are attached respectively as Exhibits 3 and 4.

           5.      On September 26, 2018, the Court held an in-person conference, the Honorable

    Lois H. Goodman presiding, which I attended along with other PwC counsel. The conference

    was not transcribed. At that conference, Judge Goodman asked if counsel for Class Plaintiffs

                                                    2
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 4 of 129 PageID: 18863




    had obtained the consent of other parties or leave of court to file Plaintiffs’ First Amended

    Consolidated Complaint (filed September 20, 2018) (ECF 352). Class Plaintiffs’ counsel stated,

    in substance, that they had not, but that the amendment should be allowed because Class

    Plaintiffs had filed it before the September 21, 2018 deadline for leave to amend reflected in the

    parties’ Joint Discovery Plan.    Judge Goodman directed Class Plaintiffs to seek an Order

    permitting this amendment.       A copy of the October 10, 2018 Consent Order (ECF 366)

    submitted by the parties and ordered by the Court is attached as Exhibit 5.

           6.      On August 5, 2019, the parties submitted a revised Joint Discovery Plan (ECF

    477), and on September 30, 2019, they re-submitted this schedule to newly-appointed Special

    Master Cavanaugh (ECF 487), who “so ordered” it on October 16, 2019. A copy of the Court’s

    Order, docketed on October 22, 2019 (ECF 492), is attached as Exhibit 6.

    The Parties’ Tolling Agreement

           7.      PwC entered into a tolling agreement with Tucson effective July 19, 2019, which

    terminated on December 16, 2019.

    Court Decision in Hound Partners

           8.      A true and correct copy of the portion of the June 19, 2019 hearing transcript

    reflecting the court’s decision in Hound Partners Offshore Fund, LP v. Valeant Pharm. Int’l,

    Inc., No. MER-L-2185-18 (N.J. Sup. Ct.) (pp. 1–4, 62–75), followed by the Court’s June 24,

    2019 Order, are collectively attached as Exhibit 7.




                                                    3
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 5 of 129 PageID: 18864




           I declare under penalty of perjury that the foregoing is true and correct to the best of my

    knowledge and belief.


    Dated: District of Columbia
           February 18, 2020

                                                /s/ Kenneth Y. Turnbull
                                                Kenneth Y. Turnbull




                                                    4
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 6 of 129 PageID: 18865




                               Exhibit 1
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 7 of 129 PageID: 18866
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 8 of 129 PageID: 18867
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 9 of 129 PageID: 18868
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 10 of 129 PageID:
                                  18869




                             Exhibit 2
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 11 of 129 PageID:
                                  18870

                                                                         King & Spalding LLP
                                                                         1185 Avenue of the Americas
                                                                         New York, NY 10036-4003
                                                                         Tel: +1 212 556 2100
                                                                         Fax: +1 212 556 2222
                                                                         www.kslaw.com

                                                                         Kenneth Y. Turnbull
                                                                         Direct Dial: +1 202 626 2644
                                                                         Direct Fax: +1 202 626 3737
                                                                         kturnbull@kslaw.com


 August 18, 2017


 VIA EMAIL


 Robert R. Henssler, Jr.
 Robbins Geller Rudman & Dowd LLP
 655 West Broadway, Suite 1900
 San Diego, CA 92101

        Re:      In re Valeant Pharmaceuticals International, Inc. Securities Litigation, No.
                 3:15-cv-07658-MAS-LHG

 Dear Counsel:

         On behalf of PricewaterhouseCoopers LLP (“PwC”), we are producing the enclosed
 documents in partial response to Plaintiffs’ First Request for Production of Documents to
 Defendant PwC, dated May 5, 2017. Specifically, we are producing electronic and external audit
 working papers associated with PwC’s annual audits and quarterly reviews of the financial
 statements of Valeant Pharmaceuticals International, Inc. (“Valeant”) for the fiscal year ending
 December 31, 2015. Valeant has asserted privilege over certain documents and will provide a
 privilege log. Our production is further described in, and made pursuant to, PwC’s Responses
 and Objections to Plaintiffs’ First Request for Production of Documents, dated June 5, 2017
 (“Responses and Objections”).

         We are producing the documents via FTP in a multi-part RAR file labeled
 PwC_VPI_DNJ_002, which includes fixed image TIFF, OCR text, and native Excel files, as well
 as load files compatible with Relativity, Concordance and Summation. The self-extracting zip
 file is encrypted for added security. The access information and password will be provided
 separately. Both the zip files and the TIFF images they contain have been marked
 “Confidential” pursuant to the terms of the Stipulation and Confidentiality Order entered by the
 Court on July 18, 2017 and should be treated accordingly. Please also note that, while it is
 impractical for us to label the native Excel files with a confidentiality designation, they are also
 confidential and should be treated as such. Please also note that these native files are subject to
 inadvertent alteration during the course of your review.
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 12 of 129 PageID:
                                  18871
 August 18, 2017
 Page 2


        Electronic Work Papers

        The Bates ranges associated with these documents are as follows:

  Electronic Database                   Bates Range
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00070381 - PwC_VPI_DNJ_00076327
 International, Inc. 2015 Q1 Review
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00076699 - PwC_VPI_DNJ_00080988
 International, Inc. 2015 Q2 Review
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00081425 - PwC_VPI_DNJ_00086666
 International, Inc. 2015 Q3 Review
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00087117 - PwC_VPI_DNJ_00144169
 International, Inc. 2015 Audit
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00146263 - PwC_VPI_DNJ_00151947
 International, Inc. 2015 Audit – Ad
 Hoc Committee

        External Work Papers

        The Bates ranges associated with these documents are as follows:

 External Workpapers                    Bates Range
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00076328 - PwC_VPI_DNJ_00076698
 International, Inc. 2015 Q1 Review
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00080989 - PwC_VPI_DNJ_00081424
 International, Inc. 2015 Q2 Review
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00086667 - PwC_VPI_DNJ_00087116
 International, Inc. 2015 Q3 Review
 Valeant Pharmaceuticals                PwC_VPI_DNJ_00144170 - PwC_VPI_DNJ_00146262
 International, Inc. 2015 Audit

        Valeant has asserted privilege over certain documents and will provide a privilege log.

                                              ****

         PwC does not intend to, and does not, waive any applicable privilege or other legal basis
 under which information may not be subject to production, whether such privilege or protection
 is held by PwC or its clients. If it were found that production of any of the information contained
 herein constitutes disclosure of otherwise privileged matters, such disclosure would be
 inadvertent and subject to the claw-back provision in paragraph 2 of the Confidentiality Order.
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 13 of 129 PageID:
                                  18872
 August 18, 2017
 Page 3




       If you have any questions, please feel free to contact me or my colleague Christina
 Conroy (212-556-2123).

                                          Sincerely,




                                          Kenneth Y. Turnbull

  Enclosures
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 14 of 129 PageID:
                                  18873




                             Exhibit 3
     Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 15 of 129 PageID:
                                       18874

Turnbull, Kenneth

From:                Ward, Robert <rward@mccarter.com>
Sent:                Tuesday, July 3, 2018 6:45 PM
To:                  'lhg_orders@njd.uscourts.gov'
Cc:                  Hernandez, Richard; 'Valeant@rgrdlaw.com'; 'FRichter@rgrdlaw.com'; Jennifer Scullion;
                     'dbuchanan@seegerweiss.com'; 'pcurnin@stblaw.com'; 'CWaldman@stblaw.com';
                     'DStujenske@stblaw.com'; 'Dean.McGee@stblaw.com'; 'hswinter@debevoise.com';
                     'beyannett@debevoise.com'; 'afjohnson@debevoise.com'; 'jrtuttle@debevoise.com';
                     'jrichter@winston.com'; 'rsperling@winston.com'; 'jmotto@winston.com'; 'epapez@winston.com';
                     'wschwartz@cooley.com'; 'lbirger@cooley.com'; 'lglee@cooley.com'; 'michael.yaeger@srz.com';
                     'cara.david@srz.com'; 'matthew.moses@srz.com'; 'rpearlson@csglaw.com';
                     'jvansplinter@csglaw.com'; Capra, Jim; Turnbull, Kenneth; 'mberman@hdrbb.com';
                     'rfineman@hdrbb.com'; 'rrosen@paulweiss.com'; Conroy, Christina; 'ssadighi@lowenstein.com';
                     'hta@hgtlaw.com'; 'shallowell@labaton.com'; 'stountas@kasowitz.com'; 'dberger@gelaw.com';
                     'mmiarmi@lchb.com'; 'jreiser@cohenmilstein.com'; 'david@dstlegal.com'; 'Rich.Gluck@blbglaw.com';
                     'DavidK@blbglaw.com'; 'sfineman@lchb.com'; James Cecchi; 'JonathanU@blbglaw.com'; Ward,
                     Robert
Subject:             Valeant Securities Litigation - Joint Discovery Plan
Attachments:         VRX - Joint Discovery Plan.docx; VRX - Joint Discovery Plan.pdf



Dear Judge Goodman,

On behalf of all parties, attached please find a Joint Discovery Plan for the Court’s consideration.

Respectfully,

Robert N. Ward


                  Robert N. Ward | Associate
                  McCARTER & ENGLISH, LLP

                  100 Mulberry Street, Four Gateway Center | Newark, New Jersey 07102
                  T: 973-848-8313
                  F: 973-297-3756
                  rward@mccarter.com | www.mccarter.com

                  BOSTON | HARTFORD | STAMFORD | NEW YORK | NEWARK
                  EAST BRUNSWICK | PHILADELPHIA | WILMINGTON | WASHINGTON, DC

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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 16 of 129 PageID:
                                  18875



                     UNITED STATES DISTRICT COURT

                         DISTRICT OF NEW JERSEY



  IN RE VALEANT                               Master No.: 3:15-cv-07658-MAS-LHG
  PHARMACEUTICALS
  INTERNATIONAL, INC.
  SECURITIES LITIGATION

  T. ROWE PRICE GROWTH STOCK                  Civil Case No. 3:16-cv-05034-MAS-LHG
  FUND, INC., et al.,

                          Plaintiffs,
        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  EQUITY TRUSTEES LIMITED AS                  Civil Case No. 3:16-cv-06127-MAS-LHG
  RESPONSIBLE ENTITY FOR T.
  ROWE PRICE GLOBAL EQUITY
  FUND, et al.,

                          Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  Captions continued on next page




                                        -1-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 17 of 129 PageID:
                                  18876



 PRINCIPAL FUNDS, et al.,                     Civil Case No. 3:16-cv-06128-MAS-LHG

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants,

 BLOOMBERGSEN PARTNERS                        Civil Case No. 3:16-cv-07212-MAS-LHG
 FUND, LP, et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 DISCOVERY GLOBAL CITIZENS                    Civil Case No. 3:16-cv-07321-MAS-LHG
 MASTER FUND, LTD., et al.,

                         Plaintiffs,

       v.
 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,


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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 18 of 129 PageID:
                                  18877



 MSD TORCHLIGHT PARTNERS,                    Civil Case No. 3:16-cv-07324-MAS-LHG
 L.P., et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,
                         Defendants,

 BLUEMOUNTAIN FOINAVEN                       Civil Case No. 3:16-cv-07328-MAS-LHG
 MASTER FUND, L.P., et al.,
                         Plaintiffs,
       v.
 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,


 INCLINE GLOBAL MASTER LP,                   Civil Case No. 3:16-cv-07494-MAS-LHG
 INC., et al.,
                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,
                         Defendants,

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                                       -3-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 19 of 129 PageID:
                                  18878



 VALIC COMPANY I, et al.,                    Civil Case No. 3:16-cv-07496-MAS-LHG

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,
                         Defendants,

 JANUS ASPEN SERIES, et al.,                 Civil Case No. 3:16-cv-07497-MAS-LHG

                         Plaintiffs,
       v.
 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,


                         Defendants,

 LORD ABBETT INVESTMENT                      Civil Case No. 3:17-cv-06365-MAS-LHG
 TRUST - LORD ABBETT SHORT
 DURATION INCOME FUND,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 Captions continued on next page




                                       -4-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 20 of 129 PageID:
                                  18879



 OKUMUS OPPORTUNISTIC VALUE                   Civil Case No. 3:17-cv-06513-MAS-LHG
 FUND, LTD.,

                         Plaintiff,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 PENTWATER EQUITY                             Civil Case No. 3:17-cv-07552-MAS-LHG
 OPPORTUNITIES MASTER FUND
 LTD., et al.,

                         Plaintiffs,

 v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants,

 PUBLIC EMPLOYEES’                            Civil Case No. 3-17-cv-07625-MAS-LHG
 RETIREMENT SYSTEM OF
 MISSISSIPPI,

                         Plaintiff,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

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                                        -5-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 21 of 129 PageID:
                                  18880



 THE BOEING COMPANY                           Civil Case No. 3:17-cv-07636-MAS-LHG
 EMPLOYEE RETIREMENT PLANS
 MASTER TRUST, et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 FÖRSTA AP-FONDEN, et al.,                    Civil Case No. 3:17-cv-12088-MAS-LHG

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 STATE BOARD OF                               Civil Case No. 3:17-cv-12808-MAS-LHG
 ADMINISTRATION OF FLORIDA,

                         Plaintiff,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants,

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                                        -6-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 22 of 129 PageID:
                                  18881




 THE REGENTS OF THE                          Civil Case No. 3:17-cv-13488-MAS-LHG
 UNIVERSITY OF CALIFORNIA,

                         Plaintiff,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 NEW YORK CITY EMPLOYEES’                    Civil Case No. 3:18-cv-00032-MAS-LHG
 RETIREMENT SYSTEM, et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 GMO TRUST, et al.,                          Civil Case No. 3:18-cv-00089-MAS-LGH

                       Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

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                                       -7-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 23 of 129 PageID:
                                  18882



  BLACKROCK GLOBAL                            Civil Case No. 3:18-cv-00343-MAS-LHG
  ALLOCATION FUND, INC., et al.,

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,


  COLONIAL FIRST STATE                        Civil Case No. 3:18-cv-00383-MAS-LGH
  INVESTMENTS LIMITED AS
  RESPONSIBLE ENTITY FOR
  COMMONWEALTH GLOBAL
  SHARES FUND 1, et al.,

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  AHUJA, et al.,                              Civil Case No. 3:18-cv-00846-MAS-LGH

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  Captions continued on next page


                                        -8-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 24 of 129 PageID:
                                  18883



  BRAHMAN PARTNERS II, L.P., et al.,          Civil Case No. 3:18-cv-00893-MAS-LHG

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  THE PRUDENTIAL INSURANCE                    Civil Case No. 3:18-cv-01223-MAS-LHG
  COMPANY OF AMERICA, et al.,

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  SENZAR HEALTHCARE MASTER                    Civil Case No. 3:18-cv-02286-MAS-LHG
  FUND, LP, et al.,

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,


  Captions continued on next page




                                        -9-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 25 of 129 PageID:
                                  18884



 2012 DYNASTY US LLC, et al.,                Civil Case No. 3:18-cv-08595-MAS-LHG

                          Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants.



                            JOINT DISCOVERY PLAN

       Pursuant to Fed. R. Civ. P. 26(f) and Local Civil Rule 26.1(b), the Class

 Action Plaintiffs, Opt-Out Litigation Plaintiffs, and Defendants submit this Joint

 Discovery Plan.

 I.    BRIEF STATEMENT OF FACTS AND LEGAL ISSUES

       A.    Class Action
       The securities class action, In re Valeant Pharms. Int’l, Inc. Sec. Litig.,

 Master No. 3:15-cv-07658-MAS-LHG (the “Class Action”), is brought on behalf

 of a putative class of purchasers of Valeant equity securities and senior notes

 between January 4, 2013 and March 15, 2016 (the “Class” and “Class Period,”

 respectively), originally alleging nine counts pursuant to the Securities Exchange

 Act of 1934 (“Exchange Act”), Securities and Exchange Commission (“SEC”)

 Rule 10b-5, 17 C.F.R. § 240.10b-5, and the Securities Act of 1933 (“Securities

 Act”) (Dkt. No. 80). Lead Plaintiff, Teachers Insurance and Annuity Association


                                        - 10 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 26 of 129 PageID:
                                  18885



 of America (“TIAA”), and named plaintiff, City of Tucson, together with and on

 behalf of the Tucson Supplemental Retirement System (“City of Tucson”), allege

 that Valeant engaged in deceptive practices, which Defendants concealed through

 materially false and misleading statements and omissions. Plaintiffs allege that

 once Valeant’s deceptive practices were disclosed to the public, the price of

 Valeant securities fell dramatically. Plaintiffs now seek compensatory damages

 and any other appropriate relief to which they are entitled. Not all claims are

 directed against each of the Defendants, some of whom are named only under one

 or a few counts. Defendants deny all liability as to all claims asserted against

 them.

         On April 28, 2017, the Court denied Defendants’ motions to dismiss with

 regard to Counts One, Two, Seven, Eight, and Nine, and granted Defendants’

 motions to dismiss, without prejudice, with regard to Counts Three, Four, Five, and

 Six of the Class Action complaint.1 All Defendants in the Class Action have

 answered the Class Action complaint.


 1
    Following the Court’s ruling on the motions to dismiss, the Defendants are: the
 “Valeant Defendants” (Valeant Pharmaceuticals International, Inc., (“Valeant”),
 Robert L. Rosiello, Ari S. Kellen, Ronald H. Farmer, Colleen Goggins, Robert A.
 Ingram, Anders Lonner, Theo Melas-Kyriazi, Robert N. Power, Norma Provencio,
 Katherine B. Stevenson, and Jeffrey W. Ubben), separately represented individual
 defendants J. Michael Pearson, Howard B. Schiller, Tanya Carro, and Deborah
 Jorn; PricewaterhouseCoopers LLP (“PwC”); and, the “Stock Underwriter
 Defendants” (Deutsche Bank Securities, Inc., HSBC Securities (USA) Inc.,
 Mitsubishi UFJ Securities (USA), Inc., DNB Markets, Inc., Barclays Capital, Inc.,

                                        - 11 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 27 of 129 PageID:
                                  18886



       On July 21, 2017, the parties to the Class Action exchanged their initial

 disclosures pursuant to Fed. R. Civ. P. 26(a)(1).

       On October 12, 2017, all parties in the Class Action appeared before

 Magistrate Judge Goodman to discuss a jointly proposed scheduling order. Prior to

 entry of a scheduling order, on October 19, 2017, the Court entered an Order to

 Show Cause (Dkt. No. 273) as to whether the Court should stay the Class Action

 and the Opt-Out Litigations. Following briefing, on November 29, 2017, the Court

 entered the Stipulation and Order Regarding Partial Stay (Dkt. No. 291) (the

 “Stay”), which stayed certain proceedings and discovery in the Class Action and

 the Opt-Out Litigations during the pendency of the criminal trial involving Philidor

 RX Services, LLC’s (“Philidor”) former CEO, Andrew Davenport, and former

 Valeant employee Gary Tanner.

       On June 5, 2018, the Court issued a Letter Order lifting the stay in the Class

 Action. Dkt. No. 316.

       On June 11, 2018, the Court issued a Letter Order consolidating into the

 Class Action the case styled Timber Hill LLC v. Valeant Pharms. Int’l, Inc., et al.,

 No. 18-cv-10246 (D.N.J.), a recently-filed securities class action arising under the

 same facts and alleging violations of the same securities laws as the Class Action.


 Morgan Stanley & Co. LLC, RBC Capital Markets, and SunTrust Robinson
 Humphrey, Inc.).


                                         - 12 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 28 of 129 PageID:
                                  18887



 Dkt. No. 318. On June 18, 2018, Timber Hill LLC filed a motion seeking relief

 from the Consolidation Order. Dkt. No. 322. On July 2, 2018, Lead Plaintiff

 TIAA filed its opposition to Timber Hill’s motion. Dkt. No. 323.

        B.    Opt-Out Litigations
        Twenty-eight cases have been filed by individual investors and groups of

 investors in Valeant securities (the “Opt-Out Litigations”). Some of the Opt-Out

 Litigations plead causes of action not pled in the Class Action, including claims

 under New Jersey’s RICO statute, Section 18 of the Securities Exchange Act of

 1934, and New Jersey common law.2 The status of the Opt-Out Litigations is as

 follows:

              1.    Cases With Motions to Dismiss Pending3

     x Pentwater Equity Opportunities Master Fund LTD v. Valeant
       Pharmaceuticals International, Inc., et al., No. 3:17-cv-07552, (Filed
       9/27/17)
     x Blackrock Global Allocation Fund, Inc., et al. v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:18-cv-00343, (Filed 1/9/18)
     x Senzar Healthcare Master Fund, LP and Blue Rock Liquid Alpha Fund,
       L.P., v. Valeant Pharmaceuticals International, Inc., et al., No. 2:18-cv-
       02286, (Filed 2/16/18)




 2
    Not all Defendants in the Class Action are named in each of the Opt-Out
 Litigations.
 3
    In some of the cases certain defendants have filed motions to dismiss all claims
 against them.


                                       - 13 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 29 of 129 PageID:
                                  18888



     x Lord Abbett Investment Trust-Lord Abbett Short Duration Income Fund et
       al. v. Valeant Pharmaceuticals International Inc., et al., No. 3:17-cv-06365,
       (Filed 8/23/17)
     x Public Employees’ Retirement System of Mississippi v. Valeant
       Pharmaceuticals International Inc., et al., No. 3:17-cv-07625, (Filed
       9/28/17)
     x The Boeing Company Employee Retirement Plans Master Trust and the
       Boeing Company Employee Savings Plans Master Trust v. Valeant
       Pharmaceuticals International Inc., et al., No. 3:17-cv-07636, (Filed
       9/28/17)
     x New York City Employees’ Retirement System, et. al. v. Valeant
       Pharmaceuticals International Inc., et. al., No. 3:18-cv-00032, (Filed
       1/2/18)
     x Hound Partners Offshore Fund, LP, Hound Partners Long master, LP, and
       Hound Partners Concentrated Master, LP v. Valeant Pharmaceuticals
       International Inc., et. al., No. 1:18-cv-00076, (Filed 1/4/18)4

     x 2012 Dynasty UC LLC, et al., v. Valeant Pharmaceuticals International Inc.,
       et al., No. 18-cv-08595, (Filed 4/30/18)

              2.    Cases With Motions to Dismiss Resolved on January
                    12, 2018

     x T. Rowe Price Growth Stock Fund, Inc., et al. v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:16-cv-05034, (Filed 8/15/16)
     x Equity Trustees Limited as Responsible for T. Rowe Price Global Equity
       Fund, et al. v. Valeant Pharmaceuticals International, Inc., et al., No. 3:16-
       cv-06127, (Filed 9/26/16)
     x Principal Funds, Inc., et al. v. Valeant Pharmaceuticals International, Inc.,
       et al., No. 3:16-cv-06128, (Filed 9/27/16)
     x BloombergSen Partners Fund LP, et al. v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:16-cv-07212, (Filed 10/13/16)


 4
  Plaintiffs in Hound Partners declined an invitation to participate in this Joint
 Discovery Plan.


                                        - 14 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 30 of 129 PageID:
                                  18889



    x Discovery Global Citizens Master Fund, Ltd., et al. v. Valeant
      Pharmaceuticals International, Inc., et al., No. 3:16-cv-07321, (Filed
      10/14/16)
    x MSD Torchlight Partners, L.P., et al. v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:16-cv-07324, (Filed 10/14/16)
    x BlueMountain Foinaven Master Fund L.P., et al. v. Valeant
      Pharmaceuticals International, Inc., et al., No. 3:16-cv-07328, (Filed
      10/14/16)
    x Incline Global Master LP, et al. v. Valeant Pharmaceuticals International,
      Inc., et al., No. 3:16-cv-07494, (Filed 10/18/16)
    x VALIC Company I, et al. v. Valeant Pharmaceuticals International, Inc., et
      al., No. 3:16-cv-07496, (Filed 10/18/16)
    x Janus Aspen Series, et al. v. Valeant Pharmaceuticals International, Inc., et
      al., No. 3:16-cv-07497, (Filed 10/18/16)

             3.    Cases Where No Motions To Dismiss Will Be Filed

    x Okumus Opportunistic Value Fund, Ltd. v. Valeant Pharmaceuticals
      International, et al., No. 3:17-cv-6513, (Filed 8/29/17) (Motions to dismiss
      filed and withdrawn pursuant to stipulation)
    x Första AP-Fonden, et al., v. Valeant Pharmaceuticals International, Inc., et
      al., No. 2:17-cv-12088, (Filed 11/27/17)
    x State Board of Administration of Florida v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:17-cv-12808, (Filed 12/07/17)
    x The Regents of the University of California v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:17-cv-13488, (Filed 12/21/17)
    x GMO Trust, et al. v. Valeant Pharmaceuticals International, Inc., et al.,
      3:18-cv-00089, (Filed 1/03/18)
    x Colonial First State Investments Limited As Responsible Entity for
      Commonwealth Global Shares Fund 1, et al. v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:18-cv-00383, (Filed 1/10/18)
    x Bharat Ahuja, et al. v. Valeant Pharmaceuticals International, Inc., et al.,
      No. 3:18-cv-00846, (Filed 1/19/18)
    x Brahman Capital Corp., et al., v. Valeant Pharmaceuticals International,
      Inc., et al., No. 3:18-cv-00893, (Filed 1/22/18)


                                       - 15 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 31 of 129 PageID:
                                  18890



       x The Prudential Insurance Company of America, et al., v. Valeant
         Pharmaceuticals International, Inc., et al., No. 3:18-cv-01223, (Filed
         1/29/18)
 II.     DISCOVERY CONDUCTED TO DATE IN THE CLASS
         ACTION
         A.    Party Discovery in the Class Action
         Prior to the Stay, Class Plaintiffs served their First Request for Production of

 Documents to Defendants Valeant and PwC, which, among other things, requested

 reproduction of documents provided to certain Investigating Agencies. Defendant

 Valeant has completed production in response to Class Plaintiffs’ First Requests.

 PwC has previously made a substantial production of documents in response to the

 First Requests and intends to make a supplemental production of additional

 documents that have been recently produced or will be produced to the

 Investigating Agencies. Valeant’s production to certain Investigating Agencies is

 ongoing, and Valeant is supplementing its productions to Class Plaintiffs on an

 ongoing basis. Class Plaintiffs are in the process of reviewing the documents

 produced and the parties are discussing matters relating to the production, privilege

 assertions, and discovery disputes.

         Class Plaintiffs also served requests for production of documents on each of

 the Stock Underwriter Defendants, who produced responsive documents, and

 served Valeant with Lead Plaintiff’s first set of interrogatories, to which Valeant

 responded and subsequently provided supplemental responses on June 12, 2018.



                                          - 16 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 32 of 129 PageID:
                                  18891



       On June 9, 2017 and June 30, 2017, the Stock Underwriter Defendants and

 PwC, respectively, served their first requests for production of documents on City

 of Tucson. The City of Tucson has responded to the document requests.

       On September 15, 2017, the Valeant Defendants served TIAA and City of

 Tucson with the Valeant Defendants’ first request for production of documents.

 TIAA and City of Tucson provided written responses and objections on October

 16, 2017. Class Plaintiffs will meet and confer with the Valeant Defendants to

 agree on deadlines for production of responsive documents.

       On September 18, 2017, PwC served City of Tucson with PwC’s second

 request for production of documents. City of Tucson provided written responses

 and Objections on October 18, 2017.

       On October 11 and 17, 2017, Class Plaintiffs served their second request for

 production of documents on PwC and Valeant, respectively.            The response

 deadlines for these second requests for production were impacted by the stay, and

 Class Plaintiffs will meet and confer with Valeant to agree on deadlines for written

 responses and the production of responsive documents. PwC agreed to serve

 written responses on June 27 and will meet and confer with Plaintiffs to discuss a

 reasonable timeline for production of the documents that PwC agrees to produce

 pursuant to those responses.




                                        - 17 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 33 of 129 PageID:
                                  18892



       B.     Third Party Discovery in the Class Action
       Prior to the Stay, Class Plaintiffs served subpoenas on more than 100 third

 parties, including Philidor, investment banks, and analysts, Valeant investors and

 consultants, entities related to Valeant and Philidor, pharmacy benefit managers,

 and former employees of Valeant and Philidor.         Some of those third parties

 completed production prior to the Stay, but the majority had not produced

 documents. Class Plaintiffs are in the process of reviewing the documents that

 were produced and are resuming the extensive meet and confers with the other

 third parties to determine the scope of discovery disputes, negotiate objections, and

 to discuss the parameters of production, such as the use of search terms and

 identification of document custodians.

       C.     Existing Discovery Disputes in the Class Action
       Prior to entry of the Stay, Class Plaintiffs had discovery disputes with non-

 parties Philidor and Cambria Pharmacies, Inc., which were the subject of joint

 letters submitted to Magistrate Judge Goodman on October 13, 2017.             Class

 Plaintiffs are meeting and conferring with Philidor and Cambria to determine

 whether the discovery disputes remain following resolution of the Davenport-

 Tanner criminal trial, and will advise the Court accordingly.

       D.     Additional Discovery Needed in the Class Action
       During the Rule 26(f) conference, the parties agreed that the scope of

 discovery was likely to be commensurate with complex litigation of this nature.

                                          - 18 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 34 of 129 PageID:
                                  18893



 The parties deferred addressing any amendment to the statutory limits for

 depositions (Rule 30(a)(2)) and interrogatories (Rule 33(a)(1)), until after

 document discovery has commenced. The parties agreed to reserve their rights to

 seek discovery relevant to claims or defenses identified during discovery and to

 object to such discovery requests.       The parties anticipate requesting and/or

 producing computer-based or other electronically stored information and have and

 will continue to confer regarding the form and scope of such production at the

 appropriate time.

        The parties to the Class Action and Opt-Out Litigations have agreed that

 depositions in these and related cases will be coordinated subject to the parties

 agreeing to a deposition protocol before the commencement of depositions. If the

 parties are unable to reach an agreement concerning a deposition protocol, the

 parties will submit competing proposals to the Court.

 III.   DISCOVERY IN THE OPT-OUT LITIGATIONS
        As a consequence of the temporary Stay, discovery was partially stayed in

 the Opt-Out Litigations. Pursuant to the Stipulation and Order Regarding Partial

 Stay entered in the Class Action and certain of the Opt-Out Litigations, Defendant

 Valeant has provided certain Opt-Out Litigation plaintiffs with access to the

 materials they produced in the Class Action in response to the Class Plaintiffs’ first

 set of document requests, subject to the Confidentiality Order.



                                         - 19 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 35 of 129 PageID:
                                  18894



       Answers in the Opt-Out Litigations are due on July 20, 2018 or, in cases

 with motions to dismiss pending, forty-five days after those motions to dismiss are

 resolved. Valeant expects to further discuss discovery with plaintiffs in the Opt-

 Out Litigations at that time.

 IV.   ESTIMATE ON THE TIME NEEDED TO COMPLETE
       DISCOVERY
       The parties in all actions have proposed the schedule in the table below:

                    Action                                Proposed Dates

 Deadline to amend pleadings and/or join                 September 21, 2018
 additional parties without leave of Court

 Class Plaintiffs to Serve Defendants with               September 21, 2018
 Class Certification Motion

 Defendants to Serve Class Plaintiffs with                 March 21, 2019
 Opposition to Class Certification Motion

 Class Plaintiffs to Serve Defendants with                  May 6, 2019
 Reply in Support of Class Certification,
 Notify Court of Completion of Class
 Certification Briefing, and file all class
 certification briefing with the Court

 Deadline for service of all interrogatories,      45 days before Fact Discovery
 requests for admission, and requests for                     Cutoff
 production

 Fact Discovery Cutoff                                   September 19, 2019

 Deadline for Plaintiffs to serve expert         60 days after Fact Discovery Cutoff
 reports

 Deadline for Defendants to serve expert         90 days after Plaintiffs serve expert
 reports                                                        reports


                                        - 20 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 36 of 129 PageID:
                                  18895



                   Action                                    Proposed Dates

 Deadline for Plaintiffs to serve rebuttal            60 days after Defendants serve
 reports                                                      expert reports

 Expert Discovery Cutoff                           60 days after Plaintiffs serve rebuttal
                                                              expert reports

 Deadline to file Dispositive Motion(s)               60 days after Expert Discovery
                                                                  Cutoff

 Opposition(s) to Dispositive Motion(s)            60 days after Dispositive Motion(s)
                                                                  filed

 Reply in support of Dispositive Motion(s)              45 days after Opposition to
                                                        Dispositive Motion(s) filed

 Deadline for objection(s) to proposed               90 days before the final pretrial
 expert testimony under FRE 702                                conference

 Opposition to any objection(s) to proposed          60 days before the final pretrial
 expert testimony under FRE 702                                conference

 Reply in support of any objection(s) to             30 days before the final pretrial
 proposed expert testimony under FRE 702                       conference

 Deadline for parties to designate potential         45 days before the final pretrial
 trial witnesses and proposed exhibits                         conference

 Deadline for parties to file a joint set of         45 days before the final pretrial
 jury instructions, proposed jury instructions                 conference
 which are objected to by any other party
 and points and authorities in support of and
 in opposition to the objected to instructions

 Final Pretrial Conference                                         TBD

 Proposed Trial Date                                               TBD




                                          - 21 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 37 of 129 PageID:
                                  18896



 V.    EXPERT TESTIMONY
       The parties in the Class Action and the Opt-Out Litigations anticipate that

 expert testimony will be necessary.

 VI.   LIMITATIONS ON DISCOVERY DEVICES
       None requested at this time.

 VII. SPECIAL DISCOVERY NEEDS
       None known at this time.

 VIII. CONFIDENTIALITY ORDER

       A.     Class Action
       On June 18, 2017, the Court entered an Order approving the parties’

 Stipulation and Confidentiality Order in the Class Action. See Dkt. No. 244.

       B.     Opt-Out Litigations
       The Confidentiality Order has also been entered in certain of the Opt-Out

 Litigations. See, e.g., T. Rowe Price Action (Dkt. No. 89); CFSIL Action (Dkt.

 No. 24); NYCERS Action (Dkt. No. 42); Ahuja Action (Dkt. No. 22).

 IX.   DISPUTE RESOLUTION
       The parties do not believe there is a need for alternative dispute resolution,

 appointment of a special master, or other special procedure at this time.

 Dated: July 3, 2018




                                        - 22 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 38 of 129 PageID:
                                  18897



 Dated: July 3, 2018

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                                            - 23 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 39 of 129 PageID:
                                  18898



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                                             - 24 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 40 of 129 PageID:
                                  18899



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                                             - 25 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 41 of 129 PageID:
                                  18900



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                                            - 26 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 42 of 129 PageID:
                                  18901



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 12088
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                                             /s/ James S. Richter



                                             - 27 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 43 of 129 PageID:
                                  18902



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                                             17-cv-07625, 17-cv-07636, 17-cv-06513,
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 Bruce W. Leppla                             17-cv-13488, 18-cv-00032, 18-cv-00089,
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                                             - 28 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 44 of 129 PageID:
                                  18903



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 18-cv-00383

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 18-cv-00846




                                            - 29 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 45 of 129 PageID:
                                  18904




                             Exhibit 4
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 46 of 129 PageID:
                                  18905




                                                    September 7, 2018

Magistrate Judge Goodman
United States District Court
  for the District of New Jersey
Clarkson S. Fisher Building
& U.S. Courthouse
402 East State Street
Trenton, NJ 08608


               Re:    Valeant Pharmaceuticals International, Inc. Securities Litigation
                      Master No.: 3:15-cv-07658-MAS-LHG: Proposed Joint Discovery Plan

Dear Magistrate Judge Goodman:

In accordance with Your August 24, 2018 Order (Dkt. No. 341), we enclose a proposed Joint
Discovery Plan agreed to by the parties. This proposed plan maintains the essential aspects of the
schedule reflected in the proposed Joint Discovery Plan submitted on July 3, 2018 by e-mail from
the McCarter & English firm.

The Class Plaintiffs respectfully suggest that a status conference may not be needed in view of the
parties’ agreement on the proposed Joint Discovery Plan. If a conference is scheduled, however,
Class Plaintiffs respectfully request that it be scheduled for September 20 (or another date
convenient to the Court) to accommodate scheduling conflicts that Class Plaintiffs have on
September 13, 2018. Counsel for Defendants are available on September 20.

                                                    Respectfully submitted,




                                                    Christopher A. Seeger
                                                    Local Counsel for the Class Plaintiffs



Encl.
cc: Counsel of Record for each party
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 47 of 129 PageID:
                                  18906



                     UNITED STATES DISTRICT COURT

                         DISTRICT OF NEW JERSEY



  IN RE VALEANT                               Master No.: 3:15-cv-07658-MAS-LHG
  PHARMACEUTICALS
  INTERNATIONAL, INC.
  SECURITIES LITIGATION

  T. ROWE PRICE GROWTH STOCK                  Civil Case No. 3:16-cv-05034-MAS-LHG
  FUND, INC., et al.,

                          Plaintiffs,
        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  EQUITY TRUSTEES LIMITED AS                  Civil Case No. 3:16-cv-06127-MAS-LHG
  RESPONSIBLE ENTITY FOR T.
  ROWE PRICE GLOBAL EQUITY
  FUND, et al.,

                          Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

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                                        -1-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 48 of 129 PageID:
                                  18907



 PRINCIPAL FUNDS, et al.,                     Civil Case No. 3:16-cv-06128-MAS-LHG

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants,

 BLOOMBERGSEN PARTNERS                        Civil Case No. 3:16-cv-07212-MAS-LHG
 FUND, LP, et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 DISCOVERY GLOBAL CITIZENS                    Civil Case No. 3:16-cv-07321-MAS-LHG
 MASTER FUND, LTD., et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,


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                                        -2-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 49 of 129 PageID:
                                  18908



 MSD TORCHLIGHT PARTNERS,                    Civil Case No. 3:16-cv-07324-MAS-LHG
 L.P., et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 BLUEMOUNTAIN FOINAVEN                       Civil Case No. 3:16-cv-07328-MAS-LHG
 MASTER FUND, L.P., et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,


 INCLINE GLOBAL MASTER LP,                   Civil Case No. 3:16-cv-07494-MAS-LHG
 INC., et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 Captions continued on next page




                                       -3-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 50 of 129 PageID:
                                  18909



 VALIC COMPANY I, et al.,                    Civil Case No. 3:16-cv-07496-MAS-LHG

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 JANUS ASPEN SERIES, et al.,                 Civil Case No. 3:16-cv-07497-MAS-LHG

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,


                         Defendants,

 LORD ABBETT INVESTMENT                      Civil Case No. 3:17-cv-06365-MAS-LHG
 TRUST - LORD ABBETT SHORT
 DURATION INCOME FUND,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

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                                       -4-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 51 of 129 PageID:
                                  18910



 OKUMUS OPPORTUNISTIC VALUE                   Civil Case No. 3:17-cv-06513-MAS-LHG
 FUND, LTD.,

                         Plaintiff,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 PENTWATER EQUITY                             Civil Case No. 3:17-cv-07552-MAS-LHG
 OPPORTUNITIES MASTER FUND
 LTD., et al.,

                         Plaintiffs,

 v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants,

 PUBLIC EMPLOYEES’                            Civil Case No. 3-17-cv-07625-MAS-LHG
 RETIREMENT SYSTEM OF
 MISSISSIPPI,

                         Plaintiff,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

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                                        -5-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 52 of 129 PageID:
                                  18911



 THE BOEING COMPANY                           Civil Case No. 3:17-cv-07636-MAS-LHG
 EMPLOYEE RETIREMENT PLANS
 MASTER TRUST, et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 FÖRSTA AP-FONDEN, et al.,                    Civil Case No. 3:17-cv-12088-MAS-LHG

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 STATE BOARD OF                               Civil Case No. 3:17-cv-12808-MAS-LHG
 ADMINISTRATION OF FLORIDA,

                         Plaintiff,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants,

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                                        -6-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 53 of 129 PageID:
                                  18912




 THE REGENTS OF THE                          Civil Case No. 3:17-cv-13488-MAS-LHG
 UNIVERSITY OF CALIFORNIA,

                         Plaintiff,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 NEW YORK CITY EMPLOYEES’                    Civil Case No. 3:18-cv-00032-MAS-LHG
 RETIREMENT SYSTEM, et al.,

                         Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

 GMO TRUST, et al.,                          Civil Case No. 3:18-cv-00089-MAS-LGH

                       Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                         Defendants,

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                                       -7-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 54 of 129 PageID:
                                  18913



  BLACKROCK GLOBAL                            Civil Case No. 3:18-cv-00343-MAS-LHG
  ALLOCATION FUND, INC., et al.,

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,


  COLONIAL FIRST STATE                        Civil Case No. 3:18-cv-00383-MAS-LGH
  INVESTMENTS LIMITED AS
  RESPONSIBLE ENTITY FOR
  COMMONWEALTH GLOBAL
  SHARES FUND 1, et al.,

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  AHUJA, et al.,                              Civil Case No. 3:18-cv-00846-MAS-LGH

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  Captions continued on next page


                                        -8-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 55 of 129 PageID:
                                  18914



  BRAHMAN PARTNERS II, L.P., et al.,          Civil Case No. 3:18-cv-00893-MAS-LHG

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  THE PRUDENTIAL INSURANCE                    Civil Case No. 3:18-cv-01223-MAS-LHG
  COMPANY OF AMERICA, et al.,

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,

  SENZAR HEALTHCARE MASTER                    Civil Case No. 3:18-cv-02286-MAS-LHG
  FUND, LP, et al.,

                        Plaintiffs,

        v.

  VALEANT PHARMACEUTICALS
  INTERNATIONAL, INC., et al.,

                          Defendants,


  Captions continued on next page




                                        -9-
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 56 of 129 PageID:
                                  18915



 2012 DYNASTY US LLC, et al.,                Civil Case No. 3:18-cv-08595-MAS-LHG

                          Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants.

 CATALYST DYNAMIC ALPHA                      Civil Case No. 3:18-cv-12673-MAS-LHG
 FUND, et al.,

                          Plaintiffs,

       v.

 VALEANT PHARMACEUTICALS
 INTERNATIONAL, INC., et al.,

                          Defendants.



                            JOINT DISCOVERY PLAN

       Pursuant to Fed. R. Civ. P. 26(f) and Local Civil Rule 26.1(b), the Class

 Action Plaintiffs, Opt-Out Litigation Plaintiffs, and Defendants submit this Joint

 Discovery Plan.

 I.    BRIEF STATEMENT OF FACTS AND LEGAL ISSUES

       A.    Class Action

       The securities class action, In re Valeant Pharms. Int’l, Inc. Sec. Litig.,

 Master No. 3:15-cv-07658-MAS-LHG (the “Class Action”), is brought on behalf


                                        - 10 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 57 of 129 PageID:
                                  18916



 of a putative class of purchasers of Valeant equity securities and senior notes

 between January 4, 2013 and March 15, 2016 (the “Class” and “Class Period,”

 respectively), originally alleging nine counts pursuant to the Securities Exchange

 Act of 1934 (“Exchange Act”), Securities and Exchange Commission (“SEC”)

 Rule 10b-5, 17 C.F.R. § 240.10b-5, and the Securities Act of 1933 (“Securities

 Act”) (Dkt. No. 80). Lead Plaintiff, Teachers Insurance and Annuity Association

 of America (“TIAA”), and named plaintiff, City of Tucson, together with and on

 behalf of the Tucson Supplemental Retirement System (“City of Tucson”), allege

 that Valeant engaged in deceptive practices, which Defendants concealed through

 materially false and misleading statements and omissions. Plaintiffs allege that

 once Valeant’s deceptive practices were disclosed to the public, the price of

 Valeant securities fell dramatically. Plaintiffs now seek compensatory damages

 and any other appropriate relief to which they are entitled. Not all claims are

 directed against each of the Defendants, some of whom are named only under one

 or a few counts. Defendants deny all liability as to all claims asserted against

 them.

         On April 28, 2017, the Court denied Defendants’ motions to dismiss with

 regard to Counts One, Two, Seven, Eight, and Nine, and granted Defendants’

 motions to dismiss, without prejudice, with regard to Counts Three, Four, Five, and




                                       - 11 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 58 of 129 PageID:
                                  18917



 Six of the Class Action complaint.1 All Defendants in the Class Action have

 answered the Class Action complaint.

       On July 21, 2017, the parties to the Class Action exchanged their initial

 disclosures pursuant to Fed. R. Civ. P. 26(a)(1).

       On October 12, 2017, all parties in the Class Action appeared before

 Magistrate Judge Goodman to discuss a jointly proposed scheduling order. Prior to

 entry of a scheduling order, on October 19, 2017, the Court entered an Order to

 Show Cause (Dkt. No. 273) as to whether the Court should stay the Class Action

 and the Opt-Out Litigations. Following briefing, on November 29, 2017, the Court

 entered the Stipulation and Order Regarding Partial Stay (Dkt. No. 291) (the

 “Stay”), which stayed certain proceedings and discovery in the Class Action and

 the Opt-Out Litigations during the pendency of the criminal trial involving Philidor

 RX Services, LLC’s (“Philidor”) former CEO, Andrew Davenport, and former

 Valeant employee Gary Tanner.

 1
    Following the Court’s ruling on the motions to dismiss, the Defendants are: the
 “Valeant Defendants” (Valeant Pharmaceuticals International, Inc., (“Valeant”),
 Robert L. Rosiello, Ari S. Kellen, Ronald H. Farmer, Colleen Goggins, Robert A.
 Ingram, Anders Lonner, Theo Melas-Kyriazi, Robert N. Power, Norma Provencio,
 Katherine B. Stevenson, and Jeffrey W. Ubben), separately represented individual
 defendants J. Michael Pearson, Howard B. Schiller, Tanya Carro, and Deborah
 Jorn; PricewaterhouseCoopers LLP (“PwC”); and, the “Stock Underwriter
 Defendants” (Deutsche Bank Securities, Inc., HSBC Securities (USA) Inc.,
 Mitsubishi UFJ Securities (USA), Inc., DNB Markets, Inc., Barclays Capital, Inc.,
 Morgan Stanley & Co. LLC, RBC Capital Markets, and SunTrust Robinson
 Humphrey, Inc.).


                                         - 12 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 59 of 129 PageID:
                                  18918



       On June 5, 2018, the Court issued a Letter Order lifting the stay in the Class

 Action. Dkt. No. 316.

       On June 11, 2018, the Court issued a Letter Order consolidating into the

 Class Action the case styled Timber Hill LLC v. Valeant Pharms. Int’l, Inc., et al.,

 No. 18-cv-10246 (D.N.J.), a recently-filed securities class action arising under the

 same facts and alleging violations of the same securities laws as the Class Action.

 Dkt. No. 318. On June 18, 2018, Timber Hill LLC filed a motion seeking relief

 from the Consolidation Order. Dkt. No. 322. On July 2, 2018, Lead Plaintiff

 TIAA filed its opposition to Timber Hill’s motion. Dkt. No. 323.

       B.    Opt-Out Litigations

       Twenty-nine cases have been filed by individual investors and groups of

 investors in Valeant securities (the “Opt-Out Litigations”). Some of the Opt-Out

 Litigations plead causes of action not pled in the Class Action, including claims

 under New Jersey’s RICO statute, Section 18 of the Securities Exchange Act of

 1934, and New Jersey common law.2 The status of the Opt-Out Litigations is as

 follows:




 2
    Not all Defendants in the Class Action are named in each of the Opt-Out
 Litigations.


                                        - 13 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 60 of 129 PageID:
                                  18919



              1.    Cases With Motions to Dismiss Pending3

     • Pentwater Equity Opportunities Master Fund LTD v. Valeant
       Pharmaceuticals International, Inc., et al., No. 3:17-cv-07552, (Filed
       9/27/17)
     • Blackrock Global Allocation Fund, Inc., et al. v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:18-cv-00343, (Filed 1/9/18)
     • Senzar Healthcare Master Fund, LP and Blue Rock Liquid Alpha Fund,
       L.P., v. Valeant Pharmaceuticals International, Inc., et al., No. 2:18-cv-
       02286, (Filed 2/16/18)
     • New York City Employees’ Retirement System, et. al. v. Valeant
       Pharmaceuticals International Inc., et. al., No. 3:18-cv-00032, (Filed
       1/2/18)
     • Hound Partners Offshore Fund, LP, Hound Partners Long master, LP, and
       Hound Partners Concentrated Master, LP v. Valeant Pharmaceuticals
       International Inc., et. al., No. 1:18-cv-00076, (Filed 1/4/18)4

     • 2012 Dynasty UC LLC, et al., v. Valeant Pharmaceuticals International Inc.,
       et al., No. 18-cv-08595, (Filed 4/30/18)

              2.    Cases With Motions to Dismiss Resolved on January
                    12, 2018

     • T. Rowe Price Growth Stock Fund, Inc., et al. v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:16-cv-05034, (Filed 8/15/16)
     • Equity Trustees Limited as Responsible for T. Rowe Price Global Equity
       Fund, et al. v. Valeant Pharmaceuticals International, Inc., et al., No. 3:16-
       cv-06127, (Filed 9/26/16)
     • Principal Funds, Inc., et al. v. Valeant Pharmaceuticals International, Inc.,
       et al., No. 3:16-cv-06128, (Filed 9/27/16)


 3
    In some of the cases certain defendants have filed motions to dismiss all claims
 against them.
 4
  Plaintiffs in Hound Partners declined an invitation to participate in this Joint
 Discovery Plan.


                                        - 14 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 61 of 129 PageID:
                                  18920



    • BloombergSen Partners Fund LP, et al. v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:16-cv-07212, (Filed 10/13/16)
    • Discovery Global Citizens Master Fund, Ltd., et al. v. Valeant
      Pharmaceuticals International, Inc., et al., No. 3:16-cv-07321, (Filed
      10/14/16)
    • MSD Torchlight Partners, L.P., et al. v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:16-cv-07324, (Filed 10/14/16)
    • BlueMountain Foinaven Master Fund L.P., et al. v. Valeant
      Pharmaceuticals International, Inc., et al., No. 3:16-cv-07328, (Filed
      10/14/16)
    • Incline Global Master LP, et al. v. Valeant Pharmaceuticals International,
      Inc., et al., No. 3:16-cv-07494, (Filed 10/18/16)
    • VALIC Company I, et al. v. Valeant Pharmaceuticals International, Inc., et
      al., No. 3:16-cv-07496, (Filed 10/18/16)
    • Janus Aspen Series, et al. v. Valeant Pharmaceuticals International, Inc., et
      al., No. 3:16-cv-07497, (Filed 10/18/16)

             3.    Cases With Motions to Dismiss Resolved on July 31,
                   2018

    • Lord Abbett Investment Trust-Lord Abbett Short Duration Income Fund et
      al. v. Valeant Pharmaceuticals International Inc., et al., No. 3:17-cv-06365,
      (Filed 8/23/17)
    • Public Employees’ Retirement System of Mississippi v. Valeant
      Pharmaceuticals International Inc., et al., No. 3:17-cv-07625, (Filed
      9/28/17)
    • The Boeing Company Employee Retirement Plans Master Trust and the
      Boeing Company Employee Savings Plans Master Trust v. Valeant
      Pharmaceuticals International Inc., et al., No. 3:17-cv-07636, (Filed
      9/28/17)

             4.    Cases Where No Motions To Dismiss Will Be Filed

    • Okumus Opportunistic Value Fund, Ltd. v. Valeant Pharmaceuticals
      International, et al., No. 3:17-cv-6513, (Filed 8/29/17) (Motions to dismiss
      filed and withdrawn pursuant to stipulation)


                                       - 15 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 62 of 129 PageID:
                                  18921



       • Första AP-Fonden, et al., v. Valeant Pharmaceuticals International, Inc., et
         al., No. 2:17-cv-12088, (Filed 11/27/17)
       • State Board of Administration of Florida v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:17-cv-12808, (Filed 12/07/17)
       • The Regents of the University of California v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:17-cv-13488, (Filed 12/21/17)
       • GMO Trust, et al. v. Valeant Pharmaceuticals International, Inc., et al.,
         3:18-cv-00089, (Filed 1/03/18)
       • Colonial First State Investments Limited As Responsible Entity for
         Commonwealth Global Shares Fund 1, et al. v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:18-cv-00383, (Filed 1/10/18)
       • Bharat Ahuja, et al. v. Valeant Pharmaceuticals International, Inc., et al.,
         No. 3:18-cv-00846, (Filed 1/19/18)
       • Brahman Capital Corp., et al., v. Valeant Pharmaceuticals International,
         Inc., et al., No. 3:18-cv-00893, (Filed 1/22/18)
       • The Prudential Insurance Company of America, et al., v. Valeant
         Pharmaceuticals International, Inc., et al., No. 3:18-cv-01223, (Filed
         1/29/18)
                5.     Cases Where Motions To Dismiss Have Not Yet Been
                       Filed

       • Catalyst Dynamic Alpha Fund, et al., v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:18-cv-12673, (Filed 8/10/18)


 II.      DISCOVERY CONDUCTED TO DATE IN THE CLASS
          ACTION

          A.    Party Discovery in the Class Action

          Prior to the Stay, Class Plaintiffs served their First Request for Production of

 Documents to Defendants Valeant and PwC, which, among other things, requested

 reproduction of documents provided to certain Investigating Agencies. Defendant

 Valeant has completed production in response to Class Plaintiffs’ First Requests.


                                           - 16 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 63 of 129 PageID:
                                  18922



 PwC has previously made a substantial production of documents in response to the

 First Requests and intends to make a supplemental production of additional

 documents that have been recently produced or will be produced to the

 Investigating Agencies. Valeant’s production to certain Investigating Agencies is

 ongoing, and Valeant is supplementing its productions to Class Plaintiffs on an

 ongoing basis. Class Plaintiffs are in the process of reviewing the documents

 produced and the parties are discussing matters relating to the production, privilege

 assertions, and discovery disputes.

       Class Plaintiffs also served requests for production of documents on each of

 the Stock Underwriter Defendants, who produced responsive documents, and

 served Valeant with Lead Plaintiff’s first set of interrogatories, to which Valeant

 responded and subsequently provided supplemental responses on June 12, 2018.

       On June 9, 2017 and June 30, 2017, the Stock Underwriter Defendants and

 PwC, respectively, served their first requests for production of documents on City

 of Tucson. The City of Tucson has responded to the document requests.

       On September 15, 2017, the Valeant Defendants served TIAA and City of

 Tucson with the Valeant Defendants’ first request for production of documents.

 TIAA and City of Tucson provided written responses and objections on October

 16, 2017. On August 20, 2018, Class Plaintiffs made a production of documents in

 response to the Valeant Defendants’ first requests for production of documents.



                                        - 17 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 64 of 129 PageID:
                                  18923



 Plaintiffs will meet and confer with the Valeant Defendants to agree on deadlines

 for further production of responsive documents.

       On September 18, 2017, PwC served City of Tucson with PwC’s second

 request for production of documents. City of Tucson provided written responses

 and Objections on October 18, 2017. PwC and City of Tucson have begun to meet

 and confer to discuss the written responses and the production of documents

 pursuant to those responses.

       On October 11 and 17, 2017, Class Plaintiffs served their second request for

 production of documents on PwC and Valeant, respectively.            The response

 deadlines for these second requests for production were impacted by the stay, and

 Class Plaintiffs will meet and confer with Valeant to agree on deadlines for written

 responses and the production of responsive documents.         PwC served written

 responses on June 27 and has begun to meet and confer with Plaintiffs to discuss a

 reasonable timeline for production of the documents that PwC agrees to produce

 pursuant to those responses.

       B.    Third Party Discovery in the Class Action

       Prior to the Stay, Class Plaintiffs served subpoenas on more than 100 third

 parties, including Philidor, investment banks, and analysts, Valeant investors and

 consultants, entities related to Valeant and Philidor, pharmacy benefit managers,

 and former employees of Valeant and Philidor.         Some of those third parties



                                        - 18 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 65 of 129 PageID:
                                  18924



 completed production prior to the Stay, but the majority had not produced

 documents. Class Plaintiffs are in the process of reviewing the documents that

 were produced and are resuming the extensive meet and confers with the other

 third parties to determine the scope of discovery disputes, negotiate objections, and

 to discuss the parameters of production, such as the use of search terms and

 identification of document custodians.

       C.     Existing Discovery Disputes in the Class Action

       Prior to entry of the Stay, Class Plaintiffs had discovery disputes with non-

 parties Philidor and Cambria Pharmacies, Inc., which were the subject of joint

 letters submitted to Magistrate Judge Goodman on October 13, 2017.             Class

 Plaintiffs are meeting and conferring with Philidor and Cambria to determine

 whether the discovery disputes remain following resolution of the Davenport-

 Tanner criminal trial, and will advise the Court accordingly.

       D.     Additional Discovery Needed in the Class Action

       During the Rule 26(f) conference, the parties agreed that the scope of

 discovery was likely to be commensurate with complex litigation of this nature.

 The parties deferred addressing any amendment to the statutory limits for

 depositions (Rule 30(a)(2)) and interrogatories (Rule 33(a)(1)), until after

 document discovery has commenced. The parties agreed to reserve their rights to

 seek discovery relevant to claims or defenses identified during discovery and to



                                          - 19 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 66 of 129 PageID:
                                  18925



 object to such discovery requests.       The parties anticipate requesting and/or

 producing computer-based or other electronically stored information and have and

 will continue to confer regarding the form and scope of such production at the

 appropriate time.

        The parties to the Class Action and Opt-Out Litigations have agreed that

 depositions in these and related cases will be coordinated subject to the parties

 agreeing to a deposition protocol before the commencement of depositions. If the

 parties are unable to reach an agreement concerning a deposition protocol, the

 parties will submit competing proposals to the Court.

 III.   DISCOVERY IN THE OPT-OUT LITIGATIONS

        As a consequence of the temporary Stay, discovery was partially stayed in

 the Opt-Out Litigations. Pursuant to the Stipulation and Order Regarding Partial

 Stay entered in the Class Action and certain of the Opt-Out Litigations, Defendant

 Valeant has provided certain Opt-Out Litigation plaintiffs with access to the

 materials they produced in the Class Action in response to the Class Plaintiffs’ first

 set of document requests, subject to the Confidentiality Order.

        Answers in certain Opt-Out Litigations were served on July 20, 2018.

 Answers in the Lord Abbett, Boeing, and Mississippi PERS actions will be served

 on September 14, 2018. Additional answers will be served in cases with pending

 motions to dismiss, forty-five days after those motions to dismiss are resolved.



                                         - 20 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 67 of 129 PageID:
                                  18926



 Valeant expects to further discuss discovery with plaintiffs in the Opt-Out

 Litigations at that time.

 IV.   ESTIMATE ON THE TIME NEEDED TO COMPLETE
       DISCOVERY

       The parties in all actions have proposed the schedule in the table below:

                    Action                                Proposed Dates

 Deadline to amend pleadings and/or join                 September 21, 2018
 additional parties without leave of Court

 Class Plaintiffs to Serve Defendants with               September 21, 2018
 Class Certification Motion

 Defendants to Serve Class Plaintiffs with                 March 21, 2019
 Opposition to Class Certification Motion

 Class Plaintiffs to Serve Defendants with                  May 6, 2019
 Reply in Support of Class Certification,
 Notify Court of Completion of Class
 Certification Briefing, and file all class
 certification briefing with the Court

 Deadline for service of all interrogatories,      45 days before Fact Discovery
 requests for admission, and requests for                     Cutoff
 production

 Fact Discovery Cutoff                                   September 19, 2019

 Deadline for Plaintiffs to serve expert         60 days after Fact Discovery Cutoff
 reports

 Deadline for Defendants to serve expert         90 days after Plaintiffs serve expert
 reports                                                        reports

 Deadline for Plaintiffs to serve rebuttal         60 days after Defendants serve
 reports                                                   expert reports




                                        - 21 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 68 of 129 PageID:
                                  18927



                   Action                                    Proposed Dates

 Expert Discovery Cutoff                           60 days after Plaintiffs serve rebuttal
                                                              expert reports

 Deadline to file Dispositive Motion(s)               60 days after Expert Discovery
                                                                  Cutoff

 Opposition(s) to Dispositive Motion(s)            60 days after Dispositive Motion(s)
                                                                  filed

 Reply in support of Dispositive Motion(s)              45 days after Opposition to
                                                        Dispositive Motion(s) filed

 Deadline for objection(s) to proposed               90 days before the final pretrial
 expert testimony under FRE 702                                conference

 Opposition to any objection(s) to proposed          60 days before the final pretrial
 expert testimony under FRE 702                                conference

 Reply in support of any objection(s) to             30 days before the final pretrial
 proposed expert testimony under FRE 702                       conference

 Deadline for parties to designate potential         45 days before the final pretrial
 trial witnesses and proposed exhibits                         conference

 Deadline for parties to file a joint set of         45 days before the final pretrial
 jury instructions, proposed jury instructions                 conference
 which are objected to by any other party
 and points and authorities in support of and
 in opposition to the objected to instructions

 Final Pretrial Conference                                         TBD

 Proposed Trial Date                                               TBD

 V.    EXPERT TESTIMONY

       The parties in the Class Action and the Opt-Out Litigations anticipate that

 expert testimony will be necessary.



                                          - 22 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 69 of 129 PageID:
                                  18928



 VI.   LIMITATIONS ON DISCOVERY DEVICES

       None requested at this time.

 VII. SPECIAL DISCOVERY NEEDS

       None known at this time.

 VIII. CONFIDENTIALITY ORDER

       A.     Class Action

       On June 18, 2017, the Court entered an Order approving the parties’

 Stipulation and Confidentiality Order in the Class Action. See Dkt. No. 244.

       B.     Opt-Out Litigations

       The Confidentiality Order has also been entered in certain of the Opt-Out

 Litigations. See, e.g., T. Rowe Price Action (Dkt. No. 89); CFSIL Action (Dkt.

 No. 24); NYCERS Action (Dkt. No. 42); Ahuja Action (Dkt. No. 22).

 IX.   DISPUTE RESOLUTION

       The parties do not believe there is a need for alternative dispute resolution,

 appointment of a special master, or other special procedure at this time.




                                        - 23 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 70 of 129 PageID:
                                  18929



 Dated: September 7, 2018

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                                            - 24 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 71 of 129 PageID:
                                  18930



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                                             - 25 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 72 of 129 PageID:
                                  18931



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                                             - 26 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 73 of 129 PageID:
                                  18932



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                                            - 27 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 74 of 129 PageID:
                                  18933



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                                             - 28 -
Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 75 of 129 PageID:
                                  18934



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                             Exhibit 5
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Case 3:15-cv-07658-MAS-LHG
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Case  3:15-cv-07658-MAS-LHG Document
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                                                 10/22/19    Page
                                                           Page 6 of85
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                                                 10/22/19    Page
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                                                 10/22/19    Page
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Case  3:15-cv-07658-MAS-LHG Document
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                                                 10/22/19    Page
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Case   3:15-cv-07658-MAS-LHGDocument
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                                                10/22/19     Page
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Case   3:15-cv-07658-MAS-LHGDocument
     3:15-cv-07658-MAS-LHG   Document 610-5
                                     492 FiledFiled 08/07/20
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Case   3:15-cv-07658-MAS-LHGDocument
     3:15-cv-07658-MAS-LHG   Document 610-5
                                     492 FiledFiled 08/07/20
                                                10/22/19     Page
                                                          Page     9129
                                                               12 of  ofPageID:
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Case   3:15-cv-07658-MAS-LHGDocument
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                                                10/22/19     Page
                                                          Page     9229
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Case   3:15-cv-07658-MAS-LHGDocument
     3:15-cv-07658-MAS-LHG   Document 610-5
                                     492 FiledFiled 08/07/20
                                                10/22/19     Page
                                                          Page     9329
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Case   3:15-cv-07658-MAS-LHGDocument
     3:15-cv-07658-MAS-LHG   Document 610-5
                                     492 FiledFiled 08/07/20
                                                10/22/19     Page
                                                          Page     9429
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Case   3:15-cv-07658-MAS-LHGDocument
     3:15-cv-07658-MAS-LHG   Document 610-5
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                                                10/22/19     Page
                                                          Page     9529
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Case   3:15-cv-07658-MAS-LHGDocument
     3:15-cv-07658-MAS-LHG   Document 610-5
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                                                          Page     9629
                                                               17 of  ofPageID:
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                                                 10/22/19    Page
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Case  3:15-cv-07658-MAS-LHG Document
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                                      610-5   Filed
                                          Filed     08/07/20
                                                 10/22/19    Page
                                                           Page    101
                                                                22 of 29ofPageID:
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Case  3:15-cv-07658-MAS-LHG Document
                             Document492
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                                          Filed     08/07/20
                                                 10/22/19    Page
                                                           Page    102
                                                                23 of 29ofPageID:
                                                                           129 PageID:
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Case  3:15-cv-07658-MAS-LHG Document
                             Document492
                                      610-5   Filed
                                          Filed     08/07/20
                                                 10/22/19    Page
                                                           Page    103
                                                                24 of 29ofPageID:
                                                                           129 PageID:
                                                                                  14209
                                     18962
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 Case3:15-cv-07658-MAS-LHG
Case  3:15-cv-07658-MAS-LHG Document
                             Document492
                                      610-5   Filed
                                          Filed     08/07/20
                                                 10/22/19    Page
                                                           Page    104
                                                                25 of 29ofPageID:
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                                                           Page    107
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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 110 of 129 PageID:
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    1                                    SUPERIOR COURT OF NEW JERSEY
                                         LAW DIVISION, CIVIL PART
    2                                    MERCER COUNTY
                                         DOCKET NO. MER-L-2185-18
    3                                    APPELLATE DKT. NO.

    4     HOUND PARTNERS        )
          OFFSHORE FUND, LP, ET )
    5     AL,                   )                  TRANSCRIPT
                                )
    6          Plaintiffs,      )                       OF
                                )
    7          vs.              )            MOTION TO DISMISS AND
                                )                  DECISION
    8     VALEANT               )
          PHARMACEUTICALS       )
    9     INTERNATIONAL INC., ET)
          AL,                   )
   10                           )
               Defendants.      )
   11
                                     Place: Mercer County Courthouse
   12                                209 South Broad Street
                                     Trenton, NJ 08650
   13
                                     Date:      June 19, 2019
   14
        BEFORE:
   15
           HON. PAUL INNES, J.S.C.
   16
        TRANSCRIPT ORDERED BY:
   17
           MARTIN B. GANDELMAN, ESQ.
   18      (Calcagni & Kanefsky, LLP)
   19   APPEARANCES:
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           (Quinn Emanuel Urquhart & Sullivan, LLP)
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   24      A. ROSS PEARLSON, ESQ.
           (Chiesa Shahinian & Giantomasi PC)
   25      Attorney for the Defendant

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                                   18970


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    3      Attorney for the Defendant, PricewaterhouseCoopers,
           LLP
    4

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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 112 of 129 PageID:
                                   18971


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    1                                 I N D E X

    2   THE COURT
        Motion to dismiss complaints against                          71
    3   PwC granted.

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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 113 of 129 PageID:
                                   18972


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    1                THE COURT:      This is the matter of Hound

    2   Partners Offshore Fund -- let's wait till everybody

    3   gets settled -- Hound Partners Offshore Fund LP, Hound

    4   Partners Long Master LP and Hound Partners Concentrated

    5   Master LP v. Valeant Pharmaceuticals International

    6   Incorporated, now known as Bausch Health Companies,

    7   Incorporated, J. Michael Pearson, Howard B. Schiller,
    8   Robert L. Rosiello, Deborah Jorn, Ari S. Kellen, Tanya

    9   Carro, and PricewaterhouseCoopers LLP, docket number

   10   MERL-2185-18.       This matter is scheduled before the
   11   Court this morning on defendant PricewaterhouseCoopers,

   12   PwC's, motion to dismiss the complaint pursuant to Rule
   13   4:6-2(e) and Rule 4:5-8(a).
   14                Let's begin with appearances of counsel.

   15                MR. KANEFSKY:       Good morning, Your Honor.
   16   Eric T. Kanefsky of Calcagni & Kanefsky of Newark,
   17   local counsel on behalf of the Quinn Emanuel firm.

   18   With me from that firm is Chad Johnson and Jesse
   19   Bernstein.

   20                Mr. Johnson will be arguing on behalf of

   21   Hound Partners, and Hound Partners plaintiffs this

   22   morning.     He has been admitted pro hac vice.

   23                MR. JOHNSON:       Good morning, Your Honor.

   24                MR. PEARLSON:       Good morning, Your Honor.
   25   Ross Pearlson, P-E-A-R-L-S-O-N, of the law firm                 Chiesa

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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 114 of 129 PageID:
                                   18973


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    1   litigation, the focus of which is based upon the same

    2   series of events and accusations, the main difference

    3   in each case being the plaintiffs.              PwC initially has

    4   directed the Court to previous decisions made in the

    5   federal cases for guidance and has some persuasive

    6   authority for how the Court should move for -- on PwC's

    7   motion.
    8                                (Pause)

    9                THE COURT:      Plain -- defendants -- defendant

   10   moves for dismissal of Counts IV, V, and VI, the RICO
   11   claims against PwC for racketeering, and conspiracy to

   12   commit racketeering, and aiding and abetting
   13   racketeering.
   14                N.J.S.A. 2C:41-2c provides:            "It shall be

   15   unlawful for any person employed by or associated with
   16   any enterprise engaged in or activities of which affect
   17   trade or commerce to conduct or participate, directly

   18   or indirectly, in the conduct of the enterprise's
   19   affairs through a pattern of racketeering activity or

   20   collection of unlawful debt," id.

   21                And similarly, 2C:41-2c provides:                "It shall

   22   be unlawful for any person to conspire, as defined by

   23   N.J.S.A. 2C:5-2, to violate any of the provisions of

   24   this section."
   25                Thus pursuant to N.J.S.A. 2C:41-2c, there

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                                   18974


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    1   must be: one, an enterprise; two, association or

    2   employment of a person with said enterprise; three, the

    3   enterprise must engage in or the activities of which

    4   affect trade or commerce; four, the person must conduct

    5   or participate, directly or indirectly, in the conduct

    6   of the enterprise's affairs; five, the person must do

    7   so through a pattern of racketeering activity.
    8   Furthermore, pursuant to the statute, 2C:41-2d,

    9   conspiring to violate the statute suffices to meet the

   10   standard.
   11                The leading case interpreting the statute is

   12   State v. Ball, 141 N.J. 142 (1995).               There the Supreme
   13   Court held that the "conduct or participate" element of
   14   subsection (c) requires that defendant "act

   15   purposefully and knowingly in the affairs of the
   16   enterprise in the sense of engaging in activities that
   17   seek to further, assist, or help effectuate the goals

   18   of the enterprise," id. at 175.
   19                The Ball court also held that a conspiracy

   20   under subsection (d) requires that the defendant act

   21   "purposely, with knowledge of the unlawful objective of

   22   the conspiracy and with intent to further its unlawful

   23   objective," id. at (e).

   24                PwC points out that here plaintiffs' summary
   25   of scienter allegations is the ward of any factual

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                                   18975


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    1   assertion specifically directed at PwC.                Additionally,

    2   plaintiffs' allegations against PwC are inconsistent

    3   with the required elements of the New Jersey RICO

    4   statute.

    5                Plaintiffs adopt the finding of the

    6   independent investigation that certain Valeant officers

    7   provided incorrect information to PwC, regarding the
    8   Philidor -- Philidor transactions, that prompted

    9   Valeant to restate its financial statements.                  This is

   10   evidence that PwC was deceived by Valeant just as the
   11   plaintiffs were, not that they knowingly and

   12   intentionally aided Valeant's enterprise.
   13                PwC relies on a common-sense argument that
   14   plaintiffs' pleaded allegations fail to explain why an

   15   independent auditor with no financial interest in
   16   Valeant's securities would purposefully and knowingly
   17   join in an alleged criminal enterprise whose objective

   18   "was to artificially inflate the value of Valeant's
   19   securities".

   20                There are several entities that obviously

   21   violated the law.        It does not appear to the Court that

   22   PwC was one of them.         And I should also say that this

   23   is similar reasoning that was adopted and employed by

   24
   25                Plaintiffs' 200-plus page complaint details a

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                                   18976


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    1   tale of extensive fraud with regards to Valeant and

    2   Philidor and those individuals calling the shots for

    3   those entities.       It details a variety of misconduct,

    4   from lies told to the United States Congress down to

    5   falsifying prescriptions in local pharmacies throughout

    6   the country.

    7                Considering the breadth of the -- of the
    8   factual allegations, however, the complaint states very

    9   little about PwC.        Despite the overall complexity of

   10   the case, the allegations against PwC are simplistic.
   11   Plaintiffs informed the Court that PwC served as

   12   Valeant's independent outside auditor throughout the
   13   relevant period.
   14                Independent auditors serve a vital role in

   15   capital markets as they are the "public watchdog"
   16   responsible for improving the reliability and
   17   credibility of financial statements.               Accordingly,

   18   Congress established the Public Company Accounting
   19   Oversight Board, following Enron and WorldCom, to

   20   oversee the audits of public companies and protect

   21   investors.

   22                As Valeant's independent auditor, PwC was

   23   required to adhere to the standards and satisfy its

   24   responsibilities thereunder.            And as part of its audit
   25   of Valeant's financial statements, PwC certified, into

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                                   18977


                                                                                   66

    1   2013 and 2014, 10-Ks that have performed it audits of

    2   Valeant's financials in accordance with the standards.

    3                PwC's special role as independent auditor

    4   meant that it -- meant that it could not blindly accept

    5   Valeant's representations about its accounting

    6   decisions, and it also meant that, in the case of

    7   certain unusual or potentially problematic
    8   arrangements, like Valeant's relationship with

    9   Philidor, PwC had a heightened duty to ensure that

   10   Valeant made the proper disclosures.
   11                Plaintiffs cite a lengthy list of selected

   12   PCAOB standards and then a 2014 audit report which
   13   contains a generic statement by PwC confirming
   14   Valeant's compliance.

   15                Plaintiffs' argument appears to be that,
   16   considering what we now know, it is clear that PwC's
   17   2014 audit report was false, misleading, and purposely

   18   omitted material facts to cover up Valeant's illegal
   19   activity.

   20                Plaintiffs persist in the allegation that PwC

   21   either consciously disregarded its duty to inquire

   22   further into the Philidor relationship, thus failing to

   23   conduct its audit in accordance with GAAP or GAAS, or

   24   PwC did inquire further and still approved Valeant's
   25   accounting, certified its internal controls, knowingly

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                                   18978


                                                                                   67

    1   violating the accounting rules.

    2                Plaintiffs claim that if PwC had acted

    3   properly, it would have been compelled to require

    4   Valeant to disclose the arrangement with Philidor.

    5   Instead, PwC rubberstamped the arrangement, abdicating

    6   its responsibilities as an independent auditor, thereby

    7   knowingly and substantially assisting Valeant to
    8   perpetuate its fraudulent scheme.

    9                To reveal PwC's stake in the scheme,

   10   plaintiffs state that PwC was paid above market fees
   11   for its services.        Specifically, in 2013, 2014, and

   12   2015, PwC was paid audit fees of $13.4 million, $12.5
   13   million, and $20.5 million, respectively.
   14                Plaintiffs believe that these fees are

   15   suspiciously high and represent drastic overpayments
   16   and establish proof of participation by PwC in the
   17   illegal enterprise.

   18                In response, PwC states that plaintiffs'
   19   assertion of overpayment is based on nothing more than

   20   an average of auditing fees that are of no relevance to

   21   the accounting work it performed for Valeant.

   22                PwC states that it did the work and the fees

   23   were appropriate based on the complexity of the work

   24   performed.      Plaintiffs claim that the payment figures
   25   are evidence of collusion and misguided and in reality

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                                   18979


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    1   are conclusory allegations that are insufficient to

    2   survive a motion to dismiss.

    3                PwC stresses that, when taking into account

    4   all of plaintiffs' allegations against it, plaintiffs

    5   merely make the argument that PwC conducted the audit

    6   negligently.      Negligence is not one of the predicate

    7   acts that constitute racketeering activity under the
    8   New Jersey RICO statute.          Nor does an outside

    9   professional's alleged negligence show purposeful and

   10   knowing participation in a racketeering enterprise.
   11   See O'Brien v. Price Waterhouse, 740 F Supp. 276, 281-

   12   284 (S.D.N.Y. 1990), dismissing a federal RICO claim
   13   because the alleged failure of the auditor to
   14   investigate the factual representations made to it by

   15   the other defendants, at best, states a claim for
   16   negligence.
   17                PwC asserts that plaintiffs explicitly

   18   predicate their New Jersey RICO claims against PwC on
   19   the assertion that PwC failed to comply with

   20   professional auditing standards.             These are negligence

   21   claims which are tied together with the completely

   22   unsupported claim that PwC was paid to not comply with

   23   the standards.

   24                With regard to the aiding and abetting fraud
   25   claim, which is Count II, to establish common-law

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                                   18980


                                                                                   69

    1   fraud, the plaintiffs must prove:              one, a material

    2   misrepresentation of a presently existing or past fact;

    3   two, knowledge or belief by the defendant of falsity;

    4   three, an intention that the other person relied on the

    5   statement; four, reasonable reliance thereon by the

    6   other person; and five, resulting damages.                    Banco

    7   Popular North America v. Gandhi, 184 N.J. 161, 173
    8   (2005).

    9                Fraud is never presumed but must be

   10   established by clear and convincing evidence.                   Weil v.
   11   Express Container Corp., 360 N.J. Super. 599, 613 (App.

   12   Div.)(2003).
   13                For aiding and abetting allegations, New
   14   Jersey courts have traditionally found that a person is

   15   liable with another if he "knows that the other's
   16   conduct constitutes a breach of duty and gives
   17   substantial assistance or encouragement to the other so

   18   to conduct himself".         Judson v. Peoples Bank and Trust
   19   Co., 25 N.J. 17, 29 (1957), quoting Restatement 2d of

   20   Torts, Section 876(b).

   21                Simply put, plaintiff must -- plaintiffs must

   22   establish that the defendant knew of the fraud and, at

   23   the very least, knowingly encouraged it.

   24                PwC points out that, similar to the
   25   "purposeful and knowing participation" requirement

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                                   18981


                                                                                   70

    1   under the New Jersey RICO statute, plaintiffs have

    2   failed to plead any facts that demonstrate PwC knew of

    3   Valeant's illegal conduct, and there has never been any

    4   evidence of assistance or encouragement from PwC for

    5   Valeant to deceive the public and drive up the stock

    6   price.

    7                Allegations of mere errors, mistakes, or
    8   other negligence are insufficient to sustain a cause of

    9   action for aiding and abetting.             Miller v. P.G. Lewis &

   10   Associates, unpublished, 2007 WL 316446 at * 6 (D.N.J.
   11   Jan. 30, 2007).

   12                Plaintiffs continue to argue that all of the
   13   mistakes that PwC made that could have halted Valeant's
   14   misdeeds and prevented damages -- damages subsequently

   15   suffered by plaintiffs are present.               However, just as
   16   always have been, the allegations essentially just give
   17   a detailed account of the allegation that PwC did a

   18   poor job auditing Valeant.           It is basically an audit of
   19   the audit and it explains all the things PwC should

   20   have done, with the benefit of twenty-twenty hindsight.

   21   It reads as negligence or simply laziness and

   22   unprofessionalism as opposed to participation in a

   23   racketeering scheme.

   24                The federal court dismissed claims against
   25   PwC for aiding and abetting racketeering in the Lord

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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 123 of 129 PageID:
                                   18982


                                                                                   71

    1   Abbett case and aiding and abetting fraud in the NYCERS

    2   case.    And for the same reasons, this Court grants the

    3   motion to dismiss the complaints against PwC.

    4                Additionally, plaintiffs rely upon New Jersey

    5   v. Qwest.      And I have to agree with defendants' counsel

    6   here that the facts in Qwest are remarkably different

    7   than the facts before the Court in this case.
    8                In Qwest, the trial court had dismissed the

    9   complaint against Arthur Andersen and allowed a amended

   10   complaint to be filed.          The plaintiff filed an amended
   11   complaint, including allegations against Arthur

   12   Andersen, and the Court dismissed the amended
   13   complaint.      And on appeal, the Appellate Division
   14   reversed the dismissal.          And the appellate court did

   15   agree that there needed to be a showing of specifics
   16   and particularity with regard to the allegations of the
   17   complaint.      But much different than what we have here,

   18   there was, in the complaint, detailed demonstration of
   19   Arthur Andersen's involvement -- substantial

   20   involvement in the allegations of fraud.

   21                And just, for example, it was alleged -- and

   22   this is at page 476 of Qwest.            It was alleged:

   23                "Advising Qwest of the manner to structure

   24   the illicit swap transactions and related accounting
   25   activities designed to fraudulently inflate Qwest's

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                                   18983


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    1   revenues and, correspondingly, the corporate share

    2   price for the period 1999 to 2002.

    3                "Directing the actual implementation of the

    4   financial reporting of the scheme, then submitting its

    5   audit opinion for the company's fiscal year-end

    6   financial statements for 1999, 2000, and 2001,

    7   certifying the accuracy of the financial disclosures as
    8   a 'neutral outside auditor'.

    9                "Preparing a series of 'White Papers' for

   10   Qwest's use itemizing a step-by-step plan for Qwest to
   11   immediately recognize revenue from the illicit swap

   12   transactions, notwithstanding accounting guidelines
   13   mandating a contrary reporting method of that revenue
   14   stream.

   15                "Providing accounting audit opinions, along
   16   with tax and audit advice, which were included in SEC
   17   filings and proxy statements, knowing the opinions

   18   failed to disclose the illicit swap transactions.
   19                "Participating in Qwest's plan to manipulate

   20   corporate revenue by sanctioning the public release of

   21   the financial reports, which included the improper

   22   increased earnings, and failing to ensure that Qwest's

   23   public financial reports disclosed the sham

   24   transactions.
   25                "Communicating with Qwest's management,

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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 125 of 129 PageID:
                                   18984


                                                                                   73

    1   including the board of directors, through emails, Excel

    2   programs and other reports, which approved and assisted

    3   Qwest's in-house accounting staff to structure the

    4   fraudulent transactions.

    5                "Certifying Qwest's Form 10-K for calendar

    6   years 2000 and 2001 despite Andersen's knowledge that

    7   the reports contained fraudulent financial data and
    8   overstated revenues."

    9                As stated during argument, the one reference

   10   concerning scienter of PwC was nothing more than an
   11   allegation of constructive knowledge on the part of PwC

   12   and that the complaint read that PwC should have known.
   13   And that certainly is not sufficient for fraud or RICO.
   14                In addition, when the Court asked plaintiffs'

   15   counsel for specific references with regard to specific
   16   allegations concerning PwC, the one reference that was
   17   given was paragraph 435 of the complaint, which dealt

   18   with a report that was generated by -- or memorandum
   19   that was generated by PwC almost two years before the

   20   December sale or purchase of Philidor.                And the other

   21   paragraphs that were cited by plaintiffs did not

   22   specifically reference PwC at all.

   23                So I do find, for those reasons, that there

   24   is a substantial difference between the facts that were
   25   before the Court in New Jersey v. Qwest, and the facts

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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 126 of 129 PageID:
                                   18985


                                                                                   74

    1   that are before the Court in this case, so I am going

    2   to grant defendants' motion to dismiss the counts

    3   against it.

    4                Thank you, gentlemen.          Have a good day now.

    5                IN UNISON:      Thank you.

    6            (Proceedings concluded at 5:56 p.m.)

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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 127 of 129 PageID:
                                   18986


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    1                               CERTIFICATION

    2   I, Dena Page, the assigned transcriber, do hereby
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    3   prepared in full compliance with the current Transcript
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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 128 of 129 PageID:
                                   18987

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        HOUND PARTNERS OFFSHORE FUND, LP,                SUPERIOR COURT OF NEW JERSEY
        HOUND PARTNERS LONG MASTER, LP,                  LAW DIVISION
        and HOUND PARTNERS CONCENTRATED                  MERCER COUNTY
        MASTER, LP,                                      DOCKET NO. MER-L-2185-18

                       Plaintiffs,                       ORDER DISMISSING PLAINTIFFS’
                                                         COMPLAINT PURSUANT TO
        vs.                                              R. 4:6-2(e) AND R. 4:5-8(a)

        VALEANT PHARMACEUTICALS
        INTERNATIONAL, INC. (n/k/a BAUSCH
        HEALTH COMPANIES, INC.), J. MICHAEL
        PEARSON, HOWARD B. SCHILLER,
        ROBERT L. ROSIELLO, DEBORAH JORN,
        ARI S. KELLEN, TANYA CARRO, and
        PRICEWATERHOUSECOOPERS LLP,

                       Defendants.


               This matter having been opened to the court by Chiesa Shahinian & Giantomasi PC,

        together with King & Spalding LLP, counsel defendant PricewaterhouseCoopers LLP (“PwC”),
       MER-L-002185-18 12/17/2018
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Case 3:15-cv-07658-MAS-LHG Document 610-5 Filed 08/07/20 Page 129 of 129 PageID:
                                   18988



        for the entry of an Order granting PwC’s Motion to Dismiss plaintiffs’ Complaint pursuant to

        R. 4:6-2(e) and R. 4:5-8(a) with prejudice, and for such other and further relief the Court deems

        just and proper, and the Court having considered said application, and the arguments of

        counsel, if any; and for other and good cause having been shown;
         and for the reasons placed upon the record;
               IT IS on this _____
                              24th   of        June          , 2019,

                ORDERED that PwC’s motion is hereby granted in its entirety; and it is
                                                                                                    without
                FURTHER ORDERED that plaintiffs’ Complaint is dismissed as against PwC XXXX
                                                                                       with

        prejudice; and it is

                IT IS FURTHER ORDERED that PwC shall serve a copy of this Order upon all

        counsel of record within seven (7) days of receipt of this Order.


                                                     ____________________________________
                                                     Hon. Paul Innes, P.J. Ch.

        Motion Unopposed _____
        Motion Opposed _______
                       XXX




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